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            EXHIBIT A
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                                                          SUPERIOR COURT OF NEW JERSEY
DAVID M. LIEBMAN, on behalf of himself and                 LAW DIVISION: ESSEX COUNTY
those similarly situated,
                                                                     Civil Action
                       Plaintiff,
                                                                      Docket No.
               vs.
                                                            CLASS ACTION COMPLAINT
                                                               and JURY DEMAND
PORTFOLIO RECOVERY ASSOCIATES, LLC;
and JOHN DOES 1 to 10,

                       Defendants.


       Plaintiff David M. Liebman, individually and on behalf of those similarly situated, by

way of Class Action Complaint against Defendant Portfolio Recovery Associates, LLC, and John

Does 1 to 10, state:

                                       NATURE OF THE CASE

       1.      This is a putative class action arising from Defendant, Portfolio Recovery

Associates, LLC’s unlawful disclosure of private financial information to third parties without

the prior consent of the consumers.

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       2.      The Fair Debt Collection Practices Act prohibits the disclosure of information to

third parties to prevent identity theft and invasions of privacy. As the National Consumer Law

Center put it eloquently:

       As the world has gone digital, consumers’ records, both financial and otherwise,
       are increasingly vulnerable to exposure. Transactions that were once fleeting,
       recorded only on paper and filed in some cabinet, or perhaps reduced to
       microfiche, are now but mouse-clicks away from duplication and dissemination.

       Unregulated databases, escalating numbers of mergers, and the proliferation of
       information brokers—private investigators who specialize in obtaining
       computerized records—all threaten privacy. As was noted in Congress,
       “databases of personal identifiable information are increasingly prime targets of
       hackers, identity thieves, rogue employees, and other criminals, including
       organized and sophisticated criminal operations.”

       The internet raises particular privacy concerns, as information sent over the World
       Wide Web may pass through dozens of different computer systems, each of which
       can snatch and hold the information in its coffers. In addition, website owners can
       track consumers’ online behavior and gather information about their preferences,
       often without their knowledge. Web bugs, or tiny graphics that are put into web
       pages and e-mails, can monitor who views the information. Clickstream data can
       tell website owners which pages of the site were viewed and for how long.
       “Cookies” dropped onto a computer may not identify the user by name but do
       identify the particular computer, which allows an interested party to assemble a
       great deal of information about that computer’s user.

       Financial information is especially sensitive, able to reveal not just a consumer’s
       standard of living and debt load, but also personal preferences and lifestyle details
       ranging from books bought to prescriptions purchased. In California Bankers
       Ass’n v. Shultz, Justice Powell pointed out that “[f]inancial transactions can reveal
       much about a person’s activities, associations, and beliefs.” Justice Douglas
       elaborated further:

       A checking account . . . [m]ay well record a citizen’s activities, opinion, and
       beliefs as fully as transcripts of his telephone conversations . . . In a sense a
       person is defined by the checks he writes. By examining them the agents get to
       know his doctors, lawyers, creditors, political allies, social connections, religious
       affiliation, educational interests, the papers and magazines he reads, and so on ad
       infinitum.

       The same can be said of credit card charges, debit purchases, and online
       transactions. Forty years later, the details of these revealing consumer activities
       are easily collected, compiled, analyzed, and accessed, and thus have created a
       lucrative market for their trade. One industry leader among data aggregation

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       companies, Acxiom, advertises that it has data on 2.5 billion consumers. Acxiom
       claims that one of its products covering American consumers has data on 250
       million consumers, offering data not just on individual demographics, but also
       household characteristics, financial information, life events, major purchases, and
       behavior, all of which allows for targeted marketing. Experian reports that it
       manages data on more than 300 million consumers and 126 million households,
       while Equifax claims a database of over 115 million U.S. households distributed
       over 150 different segment groups, which can be used to predict behavior. In
       2017, Equifax suffered a data breach that involved the personal data on nearly
       half the United States population being stolen, a breach that a Congressional
       committee found to have been “entirely preventable.” In 2014, the Federal Trade
       Commission filed a complaint against another data broker that allegedly bought
       the payday loan applications of consumers and then sold the information to
       marketers with no legitimate need for it, leading some scammers among them to
       debit millions from the consumers’ accounts.

National Consumer Law Center, Fair Credit Reporting (9th ed. 2017) § 18.1, updated at

www.nclc.org/library (footnotes omitted and alterations in original) (attached as Exhibit A).

       3.      For example, in enacting the FDCPA, Congress found “abundant evidence of the

use of abusive, deceptive, and unfair debt collection practices by many debt collectors. Abusive

debt collection practices contribute to the number of personal bankruptcies, to marital instability,

to the loss of jobs, and to invasions of individual privacy. 15 U.S.C. § 1692(a). See also

Douglass v. Convergent Outsourcing, 765 F.3d 299, 303-04 (3d Cir. 2014) (“The disclosure of

[the consumer’s] account number raises these privacy concerns. The account number is a core

piece of information pertaining to [the consumer’s] status as a debtor and Convergent's debt

collection effort. Disclosed to the public, it could be used to expose her financial predicament.

Because Convergent's disclosure implicates core privacy concerns, it cannot be deemed

benign.”).

       4.      Despite the Douglass ruling, Defendant continues to misuse and unlawfully

disclose private financial information about consumers to third-parties.

       5.      Defendant’s disclosure of sensitive financial information to third parties is an act

consistent with a course of conduct and practice which was either designed to, or had as its

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natural consequence, an attempt to obtain money from consumers through the use of false,

misleading, deceptive, abusive, unfair, unconscionable, and unlawful conduct prohibited by

common law and statutory law including, but not limited to, the Consumer Fraud Act (“CFA”),

N.J.S.A. 56:8-1, et seq., and the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. §§

1692, et seq.

       6.       Defendant is subject to strict liability under the FDCPA for the prohibited

communication with third parties “without the prior consent of the consumer given directly to the

debt collector . . . in connection with the collection of [the] debt, with any person other than the

consumer . . . .” 15 U.S.C. § 1692c(b) and for violating 15 U.S.C. § 1692d(3).

       7.       Thus, Plaintiff brings this class action for damages against Defendant arising from

Defendant’s unlawful disclosure of sensitive and confidential personal identifying and financial

information, when attempting to collect debts from New Jersey consumers.

       8.       Defendant is subject to strict liability under the FDCPA for communicating with

third parties “without the prior consent of the consumer given directly to the debt collector . . . in

connection with the collection of [the] debt, with any person other than the consumer . . . .”

                                       JURISDICTION AND VENUE

       9.       This Court has jurisdiction to entertain this matter pursuant to 15 U.S.C. §

1692k(d) and 28 U.S.C. § 1331.

       10.      Venue is proper in Essex County because Defendant regularly conducts business

there, including the collection of debts against New Jersey residents residing in Essex County.

                                                 PARTIES

       11.      Plaintiff, David M. Liebman (“Liebman”), is a natural person.

       12.      “Plaintiff” refers to Liebman.

       13.      At all times relevant to this lawsuit, Plaintiff was a citizen of the State of New

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Jersey.

          14.   Defendant, Portfolio Recovery Associates, LLC (“Defendant” or “PRA”) is a

collection agency with an office located at 120 Corporate Boulevard, Norfolk, Virginia 23502.

          15.   Defendants John Does 1 to 10 are natural persons and/or business entities all of

whom reside or are located within the United States and personally created, instituted and, with

knowledge that such practices were contrary to law, acted consistent with and oversaw policies

and procedures used by the employees of Defendant that are the subject of this Complaint. Those

defendants personally control the illegal acts, policies, and practices utilized by Defendant and,

therefore, are personally liable for all of the wrongdoing alleged in this Complaint. Those

fictitious names of individuals and businesses alleged for the purpose of substituting names of

defendants whose identity will be disclosed in discovery and should be made parties to this

action.

          16.   Some or all of John Does 1-10 set the policies and practices complained of herein.

          17.   Some or all of John Does 1-10 were actively engaged in the practices complained

of herein.

          18.   In this pleading, “Defendants” in the plural refers to all Defendants.

                                        FACTUAL ALLEGATIONS

A.        Allegations Regarding Defendant’s Practices Generally

          19.   PRA regularly collects or attempts to collect debts that are past due.

          20.   PRA regularly collects or attempts to collect debts allegedly owed to others which

were incurred primarily for personal, family or household purposes.

          21.   PRA is in the business of collecting debts or alleged debts of natural persons

which arise from transactions which are primarily for personal, family, or household purposes.

          22.   The alleged receivables associated with the debts were assigned to PRA for the

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purpose of collection.

          23.    PRA uses the mails, telephone, the internet and other instruments of interstate

commerce in engaging in the business of collecting defaulted debts or alleged debts of natural

persons which arise from transactions which are primarily for personal, family, or household

purposes.

          24.    PRA is a collection agency.

B.        Plaintiff Liebman

          25.    PRA has asserted that Liebman allegedly incurred or owed a certain financial

obligation arising out of one or more personal accounts.

          26.    The debts (“Debts”) arose from one or more transactions which were primarily for

Liebman’s personal, family or household purposes.

          27.    These accounts were assigned to PRA for collection.

          28.    PRA contends that the accounts are past due and in default.

          29.    The accounts were past due and in default at the time they were placed with or

assigned to PRA for collection.

          30.    In an attempt to collect the Debts, PRA mailed collection letters to Liebman on

June 10, 2020 (“6/10/20 Letter”), and July 21, 2020 (“7/21/20 Letter”).

          31.    A true copy of the PRA Letters1 but with redactions, is attached as Exhibit B.

          32.    Liebman received and reviewed the PRA Letters.

          33.    Upon information and belief, the PRA Letters were mailed using a third-party

letter vendor.

          34.    Liebman never provided consent to Defendant to communicate to third parties



1
    “PRA Letters” refers to the 6/10/20 Letter and 7/21/20 Letter.

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regarding his debts.

        35.     By using a letter vendor, Defendant has recklessly disclosed Liebman’s personal

identifying information and private information about his debts to a third party without

Liebman’s prior consent.

        36.     Defendant unlawfully disclosed information about Liebman’s debts including the

account numbers associated with the debts and the alleged balance dues.

        37.     The FDCPA prohibits a debt collector from communicating with third parties

“without the prior consent of the consumer given directly to the debt collector . . . in connection

with the collection of any debt, with any person other than the consumer, his attorney, a

consumer reporting agency if otherwise permitted by law, the creditor, the attorney of the

creditor, or the attorney of the debt collector .”2

        38.     The FDCPA also prohibits “[t]he publication of a list of consumers who allegedly

refuse to pay debts . . . .”3

        39.     Unlawfully communicating with a third party letter vendor regarding Plaintiff’s Debt

violates the FDCPA because it is impermissible communication under sections 1692c(b) and

1692d(3) which has the potential to cause harm to a consumer.4

        40.     PRA used the same procedures it used in sending the PRA Letters to Plaintiff

when sending the same and/or similar letters to numerous other New Jersey consumers.

        41.     During the proposed class period, PRA sent letters the same or similar to the PRA

Letters to numerous New Jersey consumers in an attempt to collect a debt.

        42.     It is PRA’s policy and practice to unlawfully communicate and convey private


2
  15 U.S.C. § 1692c(b).
3
  15 U.S.C. § 1692d(3).
4
  See Hunstein v. Preferred Collection & Mgmt. Servs., 994 F.3d 1341 (11th Cir. 2021)
(communicating with third party letter vendor violated the FDCPA).

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and sensitive information about consumers with third parties by using third party vendors to send

written collection communications in attempts to collect consumer debts.

        43.     Upon information and belief, PRA published a list of debtors, including Plaintiff,

that allegedly refuse to pay debts.

                                       CLASS ACTION ALLEGATIONS

        44.     Plaintiff brings this action individually and as a class action on behalf of all others

similarly situated pursuant to Rule 4:32 of the New Jersey Rules of Court.

        45.     Subject to discovery and further investigation which may require Plaintiff to modify

the following class definition at the time Plaintiff moves for class certification, Plaintiff seeks

certification of a class initially defined as follows:

                Class: All natural persons residing in State of New Jersey whose
                information was disclosed by Defendant to a third party on or after
                June 10, 2015, in an attempt to collect a Synchrony Bank account.

                         FDCPA Subclass: All natural persons residing in the State
                         of New Jersey, to whom Defendant sent a collection letter;
                         which letter (a) was dated within one year prior to June 10,
                         2021; (b) was seeking to collect a consumer debt allegedly
                         originating from Synchrony Bank; and (c) was sent using a
                         third party letter vendor.

        46.     Plaintiff seeks to recover statutory damages, actual damages, and attorney’s fees

and costs on behalf of himself and all class members under the claims asserted herein.

        47.     The Class for whose benefit this action is brought is so numerous that joinder of

all members is impracticable.

        48.     There are questions of law and fact common to the members of the Class that

predominate over questions affecting only individuals.

        49.     A class action is superior to other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. A class action will



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cause an orderly and expeditious administration of the claims of the Class and will foster

economies of time, effort and expense by avoiding thousands of individual suits that will be

based on the same legal theories that can be resolved in a single proceeding.

        50.    Plaintiff’s claim is typical of the claims of the members of the Class. He is a

member of the Class.

        51.    The questions of law and/or fact common to the members of the Class

predominate over any questions affecting only individual members.

        52.    Plaintiff does not have interests antagonistic to those of the Class.

        53.    The Class, of which Plaintiff is a member, are readily identifiable. The Defendant

has records of each account.

        54.    Plaintiff will fairly and adequately protect the interests of the Class, and have

retained competent counsel experienced in the prosecution of consumer litigation. Proposed

Class Counsel have investigated and identified potential claims in the action; have a great deal of

experience in handling class actions, other complex litigation, and claims of the type asserted in

this action.

        55.    The prosecution of separate actions by individual members of the Class would run

the risk of inconsistent or varying adjudications, which would establish incompatible standards

of conduct for the Defendant in this action or the prosecution of separate actions by individual

members of the class would create the risk that adjudications with respect to individual members

of the class would as a practical matter be dispositive of the interests of the other members not

parties to the adjudications or substantially impair or impede their ability to protect their

interests. Prosecution as a class action will eliminate the possibility of repetitious litigation.

        56.    Plaintiff does not anticipate any difficulty in the management of this litigation.



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                                      FIRST COUNT
                  DECLARATORY JUDGMENT AND INJUNCTIVE RELIEF FOR THE CLASS

       57.       Plaintiff repeats and realleges all prior allegations as if set forth at length herein.

       58.       Defendant’s prohibited disclosure of private and sensitive information constitute

unfair and unconscionable commercial practices and otherwise violate the Consumer Fraud Act

(“CFA”) at N.J.S.A. 56:8-2 and the FDCPA at 15 U.S.C. § 1692 et seq.

       59.       Plaintiff suffered ascertainable loss from Defendant’s CFA violations.

       60.       Plaintiff therefore has standing to seek injunctive and other equitable relief under

the CFA, at N.J.S.A. 56:8-19, and the FDCPA.

       61.       Moreover, under the Uniform Declaratory Judgments Law at N.J.S.A. 2A:16-53,

the Plaintiff and the putative Class members can seek declaratory relief.

       62.       The Defendant and its agents or others acting on their behalf should be enjoined

from any further action or failing to take actions that result in any invasion of privacy, retain

benefits from its illegal acts by the use of protected private and financial information.

       WHEREFORE, as to Count One, Plaintiff, on behalf of himself and the putative class

members, hereby requests a Judgment against Defendant, jointly and severally,

       a. Granting class certification for class-wide equitable relief under R. 4:32-1(b)(2), and

             issuing a declaratory judgment applicable to the Plaintiff and putative Class and

             Subclass, pursuant to the Uniform Declaratory Judgments Law at N.J.S.A. 2A:16-53,

             ruling that:

                            1. Defendant violated the CFA.

                            2. Defendant violated the FDCPA.

       b. Granting a permanent injunction against the Defendant, pursuant to the CFA, at

             N.J.S.A. 56:8-19, and the FDCPA prohibiting them from the disclosure of consumer’s


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             information;

       c. Directing the Defendant to provide equitable notice relief pursuant to the CFA and

             FDCPA, providing for notice to Class members of the declaratory and injunctive

             ruling.

       d. Awarding Plaintiff’s counsel reasonable attorneys’ fees and costs under the CFA;

       e. For such other and further relief as the Court deems equitable and just.

                                    SECOND COUNT
              DAMAGES UNDER THE CONSUMER FRAUD ACT ON BEHALF OF THE CLASS

       63.      Plaintiff repeats and realleges all prior allegations as if set forth at length herein.

       64.      Defendant is a “person” within the meaning of the CFA at N.J.S.A. 56:8-1.

       65.      Plaintiff and those similarly situated obtained “merchandise” within the meaning of

the CFA at N.J.S.A. 56:8-1.

       66.      Defendant engaged in unconscionable commercial practices, deception, fraud,

false promises, false pretenses and/or misrepresentations in connection with the sale of

merchandise in violation of the CFA at N.J.S.A. 56:8-2.

       67.      Defendant engaged in unconscionable commercial practices, deception, fraud,

false promises, false pretenses and/or misrepresentations in the subsequent performance of the

sale of merchandise in violation of the CFA at N.J.S.A. 56:8-2.

       68.      Defendant committed unconscionable commercial practices, deception, fraud,

false promises, false pretenses and/or misrepresentations in direct violation of the CFA at

N.J.S.A. 56:8-2.

       69.      As a result of Defendant’s unlawful actions, Plaintiff and the Class members

suffered ascertainable loss from Defendant’s CFA violations, entitling them to treble damages

under the CFA, at N.J.S.A. 56:8-19.


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       WHEREFORE, as to Count Two, Plaintiff, on behalf of himself and the putative Class

       members, hereby requests a Judgment against Defendant,

       a. Granting class certification of the Subclass under R. 4:32-1(b)(3);

       b. Awarding treble damages under the CFA, at N.J.S.A. 56:8-19;

       c. Alternatively awarding a refund of all moneys collected under the CFA, at N.J.S.A.

             56:8-2.11;

       d. Awarding Plaintiff’s counsel reasonable attorneys’ fees and costs under the CFA, at

             N.J.S.A. 56:8-19;

       e. For pre-judgment and post-judgment interest; and

       f. For such other and further relief as the Court deems equitable and just.

                                           THIRD COUNT
                                 NEGLIGENCE ON BEHALF OF THE CLASS

       70.      Plaintiff repeats and realleges all prior allegations as if set forth at length herein.

       71.      Defendant owed the Plaintiff a duty to maintain the confidentiality of his private

and financial information.

       72.      Expert testimony is not required to establish that the disclosure of confidential and

protected information breaches a commonly known duty owed by Defendant.

       73.      The disclosure of the confidential and protected information of the Plaintiff and

the Class damaged them by exposing their private information to persons who lacked any right

or entitlement to know their private information.

       74.       The Plaintiff and others have suffered a compensable loss arising from the

disclosure of their protected private and financial information.

       75.      The Class has likewise suffered a compensable loss arising from the disclosure of

their protected private and financial information.


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         WHEREFORE, as to Count Three, Plaintiff, on behalf of himself and the putative Class

         members, hereby requests a Judgment against Defendant,

         a. Granting class certification of the Class under R. 4:32-1(b)(3);

         b. A money judgment for compensatory damages based on the Defendant’s disclosure

               of the Plaintiff and Class’ private information;

         c. For attorney’s fees, litigation expenses and costs in connection with this action;

         d. For pre-judgment and post-judgment interest; and

         e. For such other and further relief as the Court deems equitable and just.

                                            FOURTH COUNT
                              INVASION OF PRIVACY ON BEHALF OF THE CLASS

         76.      Plaintiff repeats and realleges all prior allegations as if set forth at length herein.

         77.      Defendant invaded the privacy of Plaintiff by unreasonable publication of private

facts.

         78.      These private facts, Plaintiff’s financial information, are actually private matters,

the dissemination of such facts would be offensive to a reasonable person and there is no

legitimate interest of the public in being apprised of the facts publicized.

         79.      Expert testimony is not required to establish that the disclosure of confidential

financial information invaded a person’s privacy.

         80.      By publishing the private financial information of the Plaintiff and the Class,

Defendant damaged them by exposing their private information to persons who lacked any right

or entitlement to know their private financial information.

         81.       The Plaintiff and others have suffered a compensable loss arising from the

invasion of their privacy.

         82.      The Class has likewise suffered a compensable loss arising from the invasion of


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their privacy.

       WHEREFORE, as to Count Four, Plaintiff, on behalf of himself and the putative Class

       members, hereby requests a Judgment against Defendant,

       a. Granting class certification of the Class under R. 4:32-1(b)(3);

       b. A money judgment for compensatory damages based on the Defendant’s invasion of

             the privacy of the Plaintiff and Class;

       c. For attorney’s fees, litigation expenses and costs in connection with this action;

       d. For pre-judgment and post-judgment interest; and

       e. For such other and further relief as the Court deems equitable and just.

                                         COUNT FIVE
                 FAIR DEBT COLLECTION PRACTICES ACT FOR THE FDCPA SUBCLASS

       83.       Plaintiff repeats and realleges all prior allegations as if set forth at length herein.

       84.       Defendant is a “debt collector” within the meaning of 15 U.S.C. § 1692a(6).

       85.       The Debts are “debt[s]” within the meaning of 15 U.S.C. §1692a(5).

       86.       Plaintiff is a “consumer” within the meaning of 15 U.S.C. § 1692a(3).

       87.       The PRA Letters are “communication[s]” as defined by 15 U.S.C. § 1692a(2).

       88.       Defendant sent the PRA Letters in an attempt to collect “debt[s]” within the

meaning of 15 U.S.C. §1692a(5).

       89.       Defendant violated the FDCPA including sections 1692c, 1692c(b), 1692d,

1692d(3), and 1692f of the FDCPA.

       90.       Based on any one of those violations, Defendant is liable to Plaintiff and the Class

for statutory damages, attorney’s fees and costs under 15 U.S.C. § 1692k.

       WHEREFORE, as to Count Five, Plaintiff, on behalf of himself and the putative Class

members, hereby requests a Judgment against Defendant, Portfolio Recovery Associates, LLC,


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       a. An order certifying that the Cause of Action may be maintained as a class
          pursuant to R. 4:32 including defining the class, defining the class claims, and
          appointing Plaintiff as the class representative and the undersigned attorney as
          class counsel;

       b. An award of statutory damages for Plaintiff pursuant to 15 U.S.C.
          § 1692k(a)(2)(A) and § 1692k(a)(2)(B)(i);

       c. An award of statutory damages for the Class pursuant to 15 U.S.C.
          § 1692k(a)(2)(B)(ii);

       d. Attorney’s fees, litigation expenses, and costs pursuant to 15 U.S.C.
          § 1692k(a)(B)(3); and

       e. For pre-judgment and post-judgment interest; and

       f. For such other and further relief as may be just and proper.

                                           JURY DEMAND

       Plaintiff demands a trial by jury on all issues subject to trial by jury.

                                DESIGNATION OF TRIAL COUNSEL

       Pursuant to Rule 4:25-4, Yongmoon Kim is designated as trial counsel for Plaintiff.

                                          CERTIFICATION

       Pursuant to Rule 4:5-1, I hereby certify to the best of my knowledge that the matter in

controversy is not the subject of any action pending in any court or the subject of a pending

arbitration proceeding, nor is any other action or arbitration proceeding contemplated. There is a

similar case styled Martinez v. Portfolio Recovery Associates, LLC, ESX-L-3926-21. I further

certify that I know of no party who should be joined in this action at this time.

       I hereby certify that pursuant to Rule 1:38-7: All confidential identifiers of the parties to

this action have been redacted from all documents or pleadings submitted to the Court.




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Dated: June 10, 2021                  KIM LAW FIRM LLC

                                      /s/ Yongmoon Kim
                                      Yongmoon Kim, Esq.

                                      Attorneys for Plaintiff




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The Fair Credit Reporting Act (FCRA) protects a limited segment of financial privacy, by regulating consumer reporting
agencies (CRAs) that collect credit information about consumers, those who provide information to the CRAs, and those who
seek information from CRAs. However, many consumer financial transactions do not fall within the FCRA, and other sources
of privacy law must be examined to see if they can protect personal financial data from those who seek to acquire and exploit
it. Discussed below are some federal statutes, state statutes, common law tort claims, and identity theft laws that may serve to
shield consumers’ economic conduct.

As the world has gone digital, consumers’ records, both financial and otherwise, are increasingly vulnerable to exposure.
Transactions that were once fleeting, recorded only on paper and filed in some cabinet, or perhaps reduced to microfiche, are
now but mouse-clicks away from duplication and dissemination.

Unregulated databases, escalating numbers of mergers, and the proliferation of information brokers—private investigators who
specialize in obtaining computerized records—all threaten privacy. As was noted in Congress, “databases of personal
identifiable information are increasingly prime targets of hackers, identity thieves, rogue employees, and other criminals,
including organized and sophisticated criminal operations.”1

The internet raises particular privacy concerns, as information sent over the World Wide Web may pass through dozens of
different computer systems, each of which can snatch and hold the information in its coffers. In addition, website owners can
track consumers’ online behavior and gather information about their preferences, often without their knowledge. Web bugs, or
tiny graphics that are put into web pages and e-mails, can monitor who views the information. Clickstream data can tell
website owners which pages of the site were viewed and for how long. “Cookies” dropped onto a computer may not identify
the user by name but do identify the particular computer, which allows an interested party to assemble a great deal of
information about that computer’s user.2

Financial information is especially sensitive, able to reveal not just a consumer’s standard of living and debt load, but also
personal preferences and lifestyle details ranging from books bought to prescriptions purchased. In California Bankers Ass’n
v. Shultz,3 Justice Powell pointed out that “[f]inancial transactions can reveal much about a person’s activities, associations,
and beliefs.” Justice Douglas elaborated further:


        A checking account . . . [m]ay well record a citizen’s activities, opinion, and beliefs as fully as transcripts of his
        telephone conversations . . . In a sense a person is defined by the checks he writes. By examining them the agents get to
        know his doctors, lawyers, creditors, political allies, social connections, religious affiliation, educational interests, the
        papers and magazines he reads, and so on ad infinitum.4


The same can be said of credit card charges, debit purchases, and online transactions. Forty years later, the details of these
revealing consumer activities are easily collected, compiled, analyzed, and accessed, and thus have created a lucrative market
for their trade. One industry leader among data aggregation companies, Acxiom, advertises that it has data on 2.5 billion
consumers.5 Acxiom claims that one of its products covering American consumers has data on 250 million consumers, offering
data not just on individual demographics, but also household characteristics, financial information, life events, major
purchases, and behavior, all of which allows for targeted marketing.6 Experian reports that it manages data on more than 300
million consumers and 126 million households,7 while Equifax claims a database of over 115 million U.S. households
distributed over 150 different segment groups, which can be used to predict behavior.8 In 2017, Equifax suffered a data breach
that involved the personal data on nearly half the United States population being stolen, a breach that a Congressional
committee found to have been “entirely preventable.”9 In 2014, the Federal Trade Commission filed a complaint against
another data broker that allegedly bought the payday loan applications of consumers and then sold the information to marketers
with no legitimate need for it, leading some scammers among them to debit millions from the consumers’ accounts.10

Marketers are intensely interested in consumers’ online and other behavior so they can pinpoint consumers for advertising.11
Businesses want to learn as much about consumers as possible.12 Furthermore, since the 9/11 attacks, the federal government,
specifically the National Security Agency, has voraciously sought data about individuals both inside and outside the United
States.13 Political groups seek out and aggregate information about consumers to assign them “persuasion scores” that purport
to measure how likely that consumer is to vote for or against a particular candidate.14 Even the mundane task of grocery
shopping is considered sufficiently informative that supermarkets use “loyalty cards” to track every item purchased by every



                              [EXHIBIT A]
cardholder, and they are free to sell that information to anyone who might be interested. There is a near insatiable hunger to

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learn how consumers get and spend their money.

Notwithstanding the sensitivity embedded in a person’s financial choices, they are, for the most part, fair game for trade.
While federal law protects against disclosure of video rental preferences,15 cable viewing preferences,16 medical records,17 and
student records,18 it does not yet prevent financial or other institutions from selling their customers’ Social Security numbers,
account balances, maturity dates, securities holdings, or other information to private entities.19 Consequently, consumers
remain largely ignorant of the trafficking in such personal information.

In 2014, the FTC conducted an in-depth study of nine data brokers that collect personal information about consumers and then
sell it for marketing and other purposes, and issued an extensive and often critical report.20 In addition to describing the
processes by which data brokers gather and use consumer information, the agency called for Congress to “consider enacting
legislation that would enable consumers to learn of the existence and activities of data brokers and provide consumers with
reasonable access to information about them held by these entities.”21 In effect, this is a call for Congress to extend some of the
basic rights provided by the FCRA to data that falls outside that act. However, there could be downsides to such legislation to
regulate data brokers, such as preemption of stronger state laws and potential impairment of the FCRA if brokers are covered
under both that Act and the proposed law.

Though the FCRA limits some disclosures by private parties of consumer financial information, it does not give consumers the
right to prohibit a CRA from disclosing accurate, nonobsolete information to those deemed to have a permissible purpose.22
Furthermore, while some data warehousers fall within the definition of a CRA,23 others that sell their records for reasons other
than those included in the definition of a CRA may evade the FCRA’s restrictions.24

In addition, the Gramm-Leach-Bliley Act (the GLBA) gives consumers a limited right to “opt out” of certain disclosures by
financial institutions to nonaffiliated third parties.25 However, its abundant exceptions arguably all but destroy the protection it
purports to provide.

American privacy law is poorly suited to protecting privacy, especially of computerized consumer information. Aside from the
FCRA, privacy laws largely fall into three categories: laws protecting personal privacy from invasions by governments, federal
or local; the common law tort of invasion of privacy; and statutes and case law that prohibit private parties from obtaining26 or
disclosing27 specific types of information. Relevant provisions of the GLBA28 will be described in this last category;29 they
impose certain notice requirements on financial institutions who disclose financial data and a limited right for consumers to opt
out of some kinds of disclosures.




Footnotes
  1 {1} Personal Data Privacy and Security Act of 2005, S. 1332, 109th Cong. (June 29, 2005).


  2 {2} See www.epic.org/privacy/internet/cookies [1].


  3 {3} 416 U.S. 21 (1974).


  4 {4} Id. at 85, 90 (Douglas, J., dissenting).


  5 Acxiom Data: Unparalleled Global Consumer Insights [2] 2, available at https://www.acxiom.com.


  6 Acxiom Data: Unparalleled Global Consumer Insights [2] 3–4, available at https://www.acxiom.com.


  7 {7} Experian, Experian Marketing Services: Consumer View [3], available at https://www.experian.com.




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  8 {8} Equifax, Compiled Data [4], available at www.equifax.com. In 2017, Equifax had credit information on 820 million
       consumers. U.S. House of Representatives, Committee on Oversight and Government Reform Majority Staff Report,
       The Equifax Data Breach [5] 15 (Dec. 2018), available at https://republicans-oversight.house.gov.


  9 U.S. House of Representatives, Committee on Oversight and Government Reform Majority Staff Report, The Equifax
      Data Breach [5] 2 (Dec. 2018), available at https://republicans-oversight.house.gov.


  10 {10} Fed. Trade Comm’n, FTC Charges Data Broker with Facilitating the Theft of Millions of Dollars from Consumers’
       Accounts (Dec. 23, 2014) [6], available at www.ftc.gov.


  11 {11} See Frank Pasquale, The Dark Market for Personal Data, N.Y. Times, Oct. 16, 2014.


  12 {12} See, e.g., Stephanie Clifford and Quentin Hardy, Attention, Shoppers: Store Is Tracking Your Cell, N.Y. Times, July
       14, 2013; Your Privacy for Sale, Consumer Rep. (Oct. 2006).


  13 {13} See James Risen and Laura Poitras, N.S.A. Gathers Data on Social Connections of U.S. Citizens, N.Y. Times, Sept.
       28, 2013 [7], available at www.nytimes.com (describing the practices of NSA in analyzing phone call and e-mail logs,
       along with material from “public, commercial and other sources, including bank codes, insurance information,
       Facebook profiles, passenger manifests, voter registration rolls and GPS location information,” for both foreigners and
       Americans alike).


  14 {14} For instance, in the 2016 election the data analytics company Cambridge Analytica claimed to have developed
       “psychographic” profiles on potential voters that the Trump campaign could exploit to grow its voter base. See
       Nicholas Confessore and Danny Hakim, Data Firm Says “Secret Sauce” Aided Trump; Many Scoff, N.Y. Times, Mar.
       6, 2017, at A1. See also Jim Rutenberg, Data You Can Believe In: The Obama Campaign’s Digital Masterminds Cash
       In, N.Y. Times Magazine, June 20, 2013. One data-mining company that specializes in voter information, Aristotle,
       Inc., advertises that it maintains a “massive and ever-expanding database [that] includes over 190 million U.S. voters”
       and that it can “microtarget[]” individuals based on their “interests and hobbies,” along with “political district, political
       party affiliation, super-voters, gender, ethnicity, marital status, wealth, educational level and presence of children.”
       http://aristotle.com/political-data [8].


  15 {15} Video Privacy Protection Act of 1988, 18 U.S.C. § 2710.

  Several states have similar acts, some of which extend beyond prohibiting merely the disclosure of video rental records to
      the disclosure of the purchase or rental of any written materials. See, e.g., Mich. Comp. Laws § 445.1712 (known as
      both Michigan’s Preservation of Privacy Act and the Video Rental Privacy Act) (prohibiting, with exceptions anyone
      who is “engaged in the business of selling at retail . . . written materials” from disclosing information about the
      transaction in a way that “indicates the identity of the customer”). See also Coulter-Owens v. Rodale, Inc., 2015 WL
      575004, at *4 (E.D. Mich. Feb. 11, 2015) (denying dismissal of claim under state video rental privacy act arising from
      the alleged sale by the defendant, a magazine publisher, of subscribers’ information to data-mining companies). The
      Sixth Circuit recently limited the reach of Michigan’s act by concluding that a magazine publisher that used
      independent third parties to sell subscriptions could not be liable to a customer who had bought a subscription to its
      publication because the publisher was therefore not “in the business of selling at retail.” Coulter-Owens v. Time Inc.,
      695 Fed. Appx. 117, 123–124 (6th Cir. 2017).


  16 {16} Cable Communications Policy Act of 1984, 47 U.S.C. § 551(c). Note that the USA PATRIOT Act expanded the list
       of disclosures permitted by the Cable Communications Policy Act by adding certain disclosures made to specified
       government authorities. Pub. L. No. 107-56, § 211 (Oct. 26, 2001), amending 47 U.S.C. § 551(c).




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        17 {17} Most health insurers and providers must comply with the Privacy Rule promulgated pursuant to the Health
        Insurance Portability and Accountability Act (HIPAA). 45 C.F.R. §§ 160.101 to 160.312, §§ 164.102 to 164.534. The
        HIPAA Privacy Rule generally prohibits covered entities from using or disclosing protected health information except
        as specifically allowed. Among the permitted disclosures are those to CRAs for purposes of payment, so long as the
        disclosure is limited to the following information: name and address, date of birth, Social Security number, payment
        history, account number, and name and address of the health care provider. 45 C.F.R. §§ 164.501, 164.506(c)(1). In
        2009, Congress expanded the categories of those subject to HIPAA’s anti-disclosure requirements in the Health
        Information Technology for Economic and Clinical Health Act (the HITECH Act). Pub. L. No. 111-5, 123 Stat. 115
        (Feb. 7, 2009) (codified in scattered sections of titles 26 and 42 of the United States Code). See also 45 C.F.R. §
        160.103 (containing an expanded definition of the “business associates” who are subject to the anti-disclosure
        provisions). For a discussion of the HIPAA Privacy Rule, see National Consumer Law Center, Collection Actions §
        9.3.4 [9] (4th ed. 2017), updated at www.nclc.org/library. See § 5.4 [10], supra, for a discussion of the FCRA’s
        restrictions on medical information.


  18 {18} Family Educational Rights & Privacy Act of 1974, 20 U.S.C. § 1232g.


  19 {19} Federal law prohibits firms and persons who regularly prepare income tax returns for others from disclosing
       personal tax information or using it for other purposes, with a few exceptions. 26 U.S.C. § 7216. The Privacy Act of
       1974, 5 U.S.C. § 552a, requires all government agencies, whether federal, state, or local, that request Social Security
       numbers to provide a disclosure statement that explains whether the consumer is required to provide the number, how it
       will be used, and under what statutory authority the agency is requesting the number. The Act provides that a consumer
       cannot be denied a benefit for refusing to provide the number unless the number is required by federal law (or the
       disclosure is to an agency that had been using Social Security numbers prior to enactment of the Privacy Act).
       Although usually a consumer is not compelled to disclose her Social Security number to a private business, no federal
       law prohibits them from asking for it or from refusing to do business with a consumer who refuses to provide it.


  20 {20} Fed. Trade Comm’n, Data Brokers: A Call for Transparency and Accountability, at i (May 2014) [11], available at
       www.ftc.gov.


  21 {21} Id. at vii. The FTC noted these specific concerns: “Data brokers acquire a vast array of detailed and specific
       information about consumers; analyze it to make inferences about consumers, some of which may be considered
       sensitive; and share the information with clients in a range of industries. All of this activity takes place behind the
       scenes, without consumers’ knowledge.” Id. (emphasis added).


  22 {22} The Act additionally imposes some restrictions on users of consumer reports and imposes obligations on those that
       furnish information to CRAs to provide accurate information. See Chs. 6 [12] and 7 [13], supra. Some state laws give
       consumers the right to deny access to, or to “freeze,” their consumer reports. See § 9.4.1 [14], supra, and Appx. H [15],
       infra.


  23 {23} See § 2.7.5 [16], supra.


  24 {24} U.S. Gov’t Accountability Office, GAO-06-674, Report to the Committee on Banking, Housing and Urban Affairs,
       U.S. Senate: Personal Information: Key Federal Privacy Laws Do Not Require Information Resellers to Safeguard All
       Sensitive Data (June 2006). See generally Ch. 2 [17], supra (discussing what constitutes a “consumer report” and
       “consumer reporting agency”).


  25 {25} See § 18.4.1 [18], infra.




                              [EXHIBIT A]
  26 {26} For example, through wiretapping. See, e.g., 18 U.S.C. § 2510; Cal. Penal Code §§ 631 to 637; Conn. Gen. Stat.
       Ann. §§ 53a-187 to 53a-189b; Haw. Rev. Stat. § 711-1111.
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  27 {27} For example, the disclosure of customers’ video recording rentals. See, e.g., Cal. Civ. Code § 1799.3 (West); Conn.
       Gen. Stat. Ann. § 53-450; Iowa Code Ann. § 727.11.


  28 {28} 15 U.S.C. §§ 6801 to 6810.


  29 {29} See § 18.4.1 [18], infra.




Source: National Consumer Law Center, Fair Credit Reporting [9th ed.], updated at www.nclc.org/library
Source URL: https://library.nclc.org/fcr/1801-0


Links
[1] http://www.epic.org/privacy/internet/cookies
[2] https://www.acxiom.com/wp-content/uploads/2019/02/Acxiom_Data_Overview_2019_02.pdf
[3] https://www.experian.com/marketing-services/targeting/data-driven-marketing
[4] http://www.equifax.com/compiled-data/
[5] https://republicans-oversight.house.gov/wp-content/uploads/2018/12/Equifax-Report.pdf
[6] https://www.ftc.gov/news-events/press-releases/2014/12/ftc-charges-data-broker-facilitating-theft-millions-dollars
[7] http://www.nytimes.com/2013/09/29/us/nsa-examines-social-networks-of-us-citizens.html?_r=0
[8] http://aristotle.com/political-data
[9] https://library.nclc.org/nclc/link/CA.09.03.04
[10] https://library.nclc.org/nclc/link/FCR.05.04
[11] https://www.ftc.gov/system/files/documents/reports/data-brokers-call-transparency-accountability-report-federal-trade-
commission-may-2014/140527databrokerreport.pdf?utm_source=govdelivery
[12] https://library.nclc.org/nclc/link/FCR.06
[13] https://library.nclc.org/nclc/link/FCR.07
[14] https://library.nclc.org/nclc/link/FCR.09.04.01
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                        Civil Case Information Statement
Case Details: ESSEX | Civil Part Docket# L-004579-21

Case Caption: LIEBMAN DAVID VS PORTFOLIO                         Case Type: COMPLEX COMMERCIAL
RECOVERY A SSOCIATES                                             Document Type: NJ eCourts Case Initiation Confirmation
Case Initiation Date: 06/10/2021                                 Jury Demand: YES - 6 JURORS
Attorney Name: YONGMOON KIM                                      Is this a professional malpractice case? NO
Firm Name: KIM LAW FIRM LLC                                      Related cases pending: YES
Address: 411 HACKENSACK AVE STE 701                              If yes, list docket numbers: Martinez v. Portfolio Recovery
HACKENSACK NJ 07601                                              Associates, LLC, ESX-L-3926-21
Phone: 2012737117                                                Do you anticipate adding any parties (arising out of same
Name of Party: PLAINTIFF : Liebman, David, M                     transaction or occurrence)? NO
Name of Defendant’s Primary Insurance Company
(if known): Unknown                                              Are sexual abuse claims alleged by: David M Liebman? NO




      THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                      CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




Do parties have a current, past, or recurrent relationship? NO
If yes, is that relationship:
Does the statute governing this case provide for payment of fees by the losing party? YES
Use this space to alert the court to any special case characteristics that may warrant individual
management or accelerated disposition:


Do you or your client need any disability accommodations? NO
       If yes, please identify the requested accommodation:


Will an interpreter be needed? NO
         If yes, for what language:


Please check off each applicable category: Putative Class Action? YES Title 59? NO Consumer Fraud? YES




I certify that confidential personal identifiers have been redacted from documents now submitted to the
court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

06/10/2021                                                                                             /s/ YONGMOON KIM
Dated                                                                                                             Signed
           ESX L 004579-21 06/12/2021 4:40:44 AM Pg 1 of 1 Trans ID: LCV20211427432
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ESSEX COUNTY - CIVIL DIVISION
SUPERIOR COURT OF NJ
465 MARTIN LUTHER KING JR BLVD
NEWARK           NJ 07102
                                             TRACK ASSIGNMENT NOTICE
COURT TELEPHONE NO. (973) 776-9300
COURT HOURS 8:30 AM - 4:30 PM

                             DATE:   JUNE 11, 2021
                             RE:     LIEBMAN DAVID VS PORTFOLIO RECOVERY A SSOCIATES
                             DOCKET: ESX L -004579 21

      THE ABOVE CASE HAS BEEN ASSIGNED TO:   TRACK 4.

     DISCOVERY IS PRESUMPTIVELY 450 DAYS BUT MAY BE ENLARGED OR SHORTENED BY THE
JUDGE AND RUNS FROM THE FIRST ANSWER OR 90 DAYS FROM SERVICE ON THE FIRST
DEFENDANT, WHICHEVER COMES FIRST.
FROM SERVICE ON THE FIRST DEFENDANT, WHICHEVER COMES FIRST.

      THE MANAGING JUDGE ASSIGNED IS:   HON KEITH E. LYNOTT

       IF YOU HAVE ANY QUESTIONS, CONTACT TEAM      002
AT:   (973) 776-9300 EXT 56908.

      IF YOU BELIEVE THAT THE TRACK IS INAPPROPRIATE YOU MUST FILE A
 CERTIFICATION OF GOOD CAUSE WITHIN 30 DAYS OF THE FILING OF YOUR PLEADING.
      PLAINTIFF MUST SERVE COPIES OF THIS FORM ON ALL OTHER PARTIES IN ACCORDANCE
WITH R.4:5A-2.
                            ATTENTION:
                                             ATT: YONGMOON KIM
                                             KIM LAW FIRM LLC
                                             411 HACKENSACK AVE STE 701
                                             HACKENSACK        NJ 07601

ECOURTS
                    ESX-L-004579-21 06/22/2021 10:25:05 AM Pg 1 of 1 Trans ID: LCV20211488957
DocuSign Envelope ID: BD8FE185-FB54-402C-BD93-EE52F9A756F8
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DAVID M. LIEBMAN, ON BEHALF OF HIMSELF AND THOSE SIMILARLY SITUATED
                                                                          Plaintiff                                     20210615171228
                                                                                                                           Superior Court Of New Jersey
                                        vs
PORTFOLIO RECOVERY ASSOCIATES, LLC, ET AL                                                                                                    ESSEX Venue
                                                                       Defendant
                                                                                                                         Docket Number: ESX L 4579 21
Person to be served (Name and Address):
PORTFOLIO RECOVERY ASSOCIATES, LLC
PRINCETON SOUTH CORPORATE CENTER, SUITE 160 100 CHARLES                                                  AFFIDAVIT OF SERVICE
EWING BOULEVARD                                                                                              (For Use by Private Service)
EWING NJ 08638
By serving: CORPORATION SERVICE COMPANY                                                      Cost of Service pursuant to R. 4:4-3(c)

Attorney: YONGMOON KIM, ESQ.
                                                                                                                    $ ______.____
Papers Served: SUMMONS AND COMPLAINT, CIS, TRACK ASSIGNMENT
NOTICE, CERTIFICATION, EXHIBITS

Service Data:     [X] Served Successfully             [ ] Not Served                         Name of Person Served and relationship/title:

 Date/Time:        6/16/2021 1:10 PM                                                         JOHNNIE MYERS
[ ] Delivered a copy to him/her personally
                                                                                             PERSON AUTHORIZED TO ACCEPT SERVICE
[ ] Left a copy with a competent household member over 14 years of age residing
therein (indicate name & relationship at right)

[X] Left a copy with a person authorized to accept service, e.g. managing agent,
registered agent, etc. (indicate name & official title at right)




Description of Person Accepting Service:

SEX:M     AGE: 21-35 HEIGHT: 5'9"-6'0"           WEIGHT: 161-200 LBS.          SKIN:BLACK              HAIR: BALD            OTHER:

Unserved:
[ ] Defendant is unknown at the address furnished by the attorney
[ ] All reasonable inquiries suggest defendant moved to an undetermined address
[ ] No such street in municipality
[ ] Defendant is evading service
[ ] Appears vacant
[ ] No response on:                     Date/Time: ____________________
                                             Date/Time: ____________________
                                             Date/Time: ____________________

Other:




To Be Used Where Electronic Signature Not Available                                   Docusign Court Approved E-Signature
Served Data:
Subscribed and Sworn to me this                                                       I, JANE NUNN,
                                                                                      was at the time of service a competent adult, over the age of 18 and
________________day of _________________, 20 __________                               not having direct interest in the litigation. I declare under penalty of
                                                                                      perjury that the foregoing is true and correct.
Notary Signature:______________________________________                               \dsASign\
                                                                                                                                      06/16/2021
________________________      _________________________                               Signature of Process Server                          Date
      Name of Notary               Commission Expiration



Name of Private Server: JANE NUNN Address: 2009 Morris Avenue UNION, NJ 07083 Phone: (800) 672-1952
